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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ANTONIC PEREZ
Plaintiff, 20 cv 5636 (JGK)

ORDER
- against -

666 LLC, ET AL.

Defendants.

 

JOHN G. KOELTL, District Judge:

The plaintiff’s claims for intentional infliction of
emotional distress and negligent infliction of emotional
distress are withdrawn without prejudice to renewal if warranted
at a later stage in the proceedings. The time for the defendant
to answer the complaint, minus the withdrawn claims, is November
6, 2020, Compliance with the discovery protocols is required by
December 22, 2020. The parties should submit a Rule 26(f)
report by January 8, 2021. In the Rule 26(f) report, the
parties should notify the Court if referral to the Mediation
Panel would be useful.

SO ORDERED.

Dated: New York, New York Puglocbe
October 19, 2020 gee

John G. Koeltl
United States District Judge

 

 

 

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